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13                                 UNITED STATES DISTRICT COURT
14                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                               Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of               DECLARATION OF H
   themselves and all others similarly situated,                G            IN SUPPORT OF
17               Plaintiffs,
                                                                PLAINTIFFS’ MOTIONS FOR
                                                                PRELIMINARY INJUNCTION
18        v.                                                    AND PROVISIONAL CLASS
                                                                CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4334004.1]
                   DECLARATION OF H    G            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, H    G            , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin from February or March 2020 until
 6 November 2021. In November 2021, I was transferred to Federal Detention Center,
 7 SeaTac. I now live in California after I was released.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     While at FCI Dublin, I experienced sexual abuse by Officer Chavez and
13 witnessed other officers abusing women.
14                 5.     While I was incarcerated at FCI Dublin, I worked in the kitchen from
15 Summer or Fall 2020 to November 2021. When I began working in the kitchen, I heard
16 that officers were sexually abusing women, but I did not believe it—until I saw it for
17 myself.
18                 6.     Correctional officers began forcing me to watch the door to the closets or
19 bathrooms, acting as a lookout so prison officers could be alone with women in these
20 spaces.
21                 7.     Officers Jones and Kinlaw went into these rooms alone with women three to
22 four times while I acted as a lookout.
23                 8.     Everyone knew that these officers were having sex with women during this
24 time.
25                 9.     I also saw officers touch women inappropriately. Most often, I saw Officer
26 Chavez touch women inappropriately, hugging them in the fridge at the beginning and end
27 of every shift. Chavez also often asked women to go into places alone with him—for
28 example, he asked women to go with him to the fridge or trash area. I often saw the sexual
     [4334004.1]                                          2
                   DECLARATION OF H    G            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-45 Filed 08/17/23 Page 3 of 5




 1 way he looked at and touched other women, which made me feel uncomfortable.
 2                 10.   Many women in the facility knew he had sex with many women who worked
 3 in the kitchen.
 4                 11.   When one of the women Officer Chavez was having sex with was released
 5 around Spring 2021, Chavez turned his attention toward me. He started to ask me to give
 6 him hugs “for doing a good job.”
 7                 12.   Then he constantly began inviting me into situations where we could be
 8 alone—to the fridge, to take out the trash with him, or other errands. Soon after, he began
 9 touching my body, often touching my back and shoulders. He also brought me food and
10 treats from the outside. This included candy, avocados, and prepared food such as ceviche.
11 All of these things were things we could not get inside the prison, which made them very
12 coveted and valuable to us.
13                 13.   In April or May 2021, when Officer Chavez and I were alone in the fridge,
14 he said to me, “I investigated you, I saw that they are going to deport you and that you
15 have kids.” I was afraid of what Chavez would do with this information. I felt threatened
16 by his reference to my noncitizen status and my children.
17                 14.   Officer Chavez escalated his actions into overtly sexual ones. He started
18 making sexual comments about me and my body.
19                 15.   He began following me into the fridge, touching me more aggressively.
20                 16.   Chavez touched my genitals with his hands, and then proceeded to digitally
21 penetrate me. This happened about six times.
22                 17.   Chavez also attempted to get me to touch him. He took my hand and put it
23 on his penis over his pants. I could feel he was erect. I immediately moved my hand and
24 said, “No.”
25                 18.   I did not feel like I could reject Officer Chavez’s abuse because he often
26 threatened me. The first couple of times, I tried to stop him. I told him, “This isn’t right. I
27 don’t want to do this. I don’t like that you do that.” He responded, “Aren’t you well
28 behaved? Okay, do you want to lose your good time? You know I can take you to the
     [4334004.1]                                        3
                   DECLARATION OF H    G            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 SHU” (referring to the Special Housing Unit). When I attempted to refuse his sexual
 2 advances, he also mentioned that I had an immigration detainer, and that he knew where
 3 my children lived.
 4                 19.   I knew that he was threatening me, so I stopped fighting back in fear.
 5                 20.   When I arrived at FCI Dublin in early 2020, I was not provided adequate
 6 training and information about how to respond to sexual abuse.
 7                 21.   There is no effective way to confidentially report sexual assault and abuse by
 8 staff at FCI Dublin.
 9                 22.   While I was held at FCI Dublin, I never felt comfortable reporting Officer
10 Chavez’s sexual abuse. I was terrified and did not even know how to report.
11                 23.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
12 by staff and retaliate against people who do report.
13                 24.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
14 BOP do not seriously investigate the reports. Investigations are frequently delayed and
15 overseen by staff who know and work with the offending staff member. Generally nothing
16 happens as a result.
17                 25.   I only felt comfortable reporting this abuse when I was transferred to SeaTac
18 and other women from FCI Dublin encouraged me to report.
19                 26.   There is little to no confidential mental health care available to survivors of
20 sexual abuse and assault at FCI Dublin.
21                 27.   As a result of this abuse, I feel as if I could never have a relationship or be
22 intimate with a man again. I feel utterly broken. I have physical and psychological
23 manifestations of extreme emotional distress that still affect me to this day.
24                 28.   There is little to no medical care available to survivors of sexual abuse and
25 assault at FCI Dublin.
26                 29.   The camera system at FCI Dublin is inadequate. There are some cameras
27 installed in fixed locations in the facility, but it is well known that there are no cameras in
28 certain areas. Staff at FCI Dublin have never worn body-worn cameras in the facility.
     [4334004.1]                                          4
                   DECLARATION OF H    G            IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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